                         Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 1 of 13
                                                                                                                            FILED
                                                                                                                       CIVIL DIVISION
                                                                                                                      OCT 31 2023
                                          Superior Court of the District of Columbia
                                            CIVIL DIVISION Civil Actions Branch
                                  500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001                      Superior Court of the
                                                                                                                   District of Columbia
                                     Telephone: (202) 879-1133 Website: www.dccourts.gov
          fr Or ce
                                                                          Case No.              2023 06994
                                                          COMPLAINT
                                     Jurisdiction of this Court is founded on D.C. Code § 11-921.




PLATNTIFF
                                             SOW
                                                               vs      DEFENDANT
                                                                                                                              ent
Address (No Post Office Boxes)"                                        Address (No Post Office Boxes)


                              *
                                                                                       wW
  ify                State             Zip Code                        City   _
                                                                                            State     )°       Zip Code

                 25 173674                                                                     72
Telephone Number                                                       Telephone Nurhber

                                             WG         COM
Email Address (opt onal)                                               Email Address (optional)


  1.    Write a short and plain statement of your claim, including any relevant facts, dates, and locations:

        OO                                    eke      Che
                                                                                  if
                                                                                                                                 COM"



                                                                                                                                      DANA
                                                                                                                                  (
                                                                                                       Aras
                                                                                                    © Wk
  2.    What rel ef      e you request: g from the Court? Inclu     any request for     ney amageg.




                                                                                                                            Maver


Form CA-3074 [Rev. Nov. 2017]                              1                                         Super. Ct. Civ. R. 3
                 Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 2 of 13




 3.   State any other information, of which the Court should be aware:




                                                      SIGNATURE

   To the best of my knowledge, everything in this Complaint is true and I am not filing this Complaint to
        s the Defendant(s). Superior Court Civil Rules 11(b).




         ATURE


   DATE




Subscribed and sworn to before me this                         day of,              20.



                                                                         (Not




                                                           2
              Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 3 of 13




                                      ADDENOUM TO COMPLAINT



                                                            CASE NO.
                                                                             2023 06994

                                 ADDITIONAL PARTY NAMES AND ADDRESSES




                                           ENDANT
                                                                                           well
                                                                                            EFENDANT



 Address (No Post Office Boxes)                           Address (No Post Office Boxes)

                                       VC                                                         20005
 City               State            Zip                  City               State         Zip


 2026 -4302.
 Telephone Number                                         Telephone Number

                                                    CoH
 E      il Addreks (Optional)                             Email Address (Optional)




C)PLAINTIF
          ~

                                ©.
                                     DEFENDANT.
                                                             Ecce2 Stas
                                                                 PLAINTIFF
                                                                                     KeTDEFENDANT


     ddress (No Post Office Bo es)                        Address (No Post Office Boxes)

(Nas
 City                 ate            Zip                  City               State    \    Zip

     202      -




 Telephone Number                                         Telephone Number


 Email Address (Optional)                                 Email Address (Optional)
                           Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 4 of 13
                                            Superior Court of the District of Columbia
                                                        CIVIL DIVISION
                                                       Civil Actions Branch
                                    500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001

                  oF OS
                                         Telephone: (202) 879-1133 Website: www.dccourts.gov

                                  aS
                Orne


                              G                                    Plaintiff
                                       vs
                                                                                                               .2023 06994
                                                                                                     Case Number
                0         ce (2                  \\
                                                                  Defendant


                                                                  SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, cither
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attomey's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

          You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
  N.W.. between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
  the plaintiff or within seven (7) days aft       ou have served the plaintiff If you fail to file an Answer,
        ent by defaylt may be entered against you or the relief demanded in the complaint

                                                                                              Clerk     the Court
           of

                                                                               By
 Ad ress                                                                                                   Deput     lerk



                                                                               Date                                   23
 Telephone
 51 RM   Bikey Bis (202) 879-4828           Veuillez appeter au (202) 879-4828 pour une traduction     He co mot har dich hay vor (202)879-4828

 WS MOAN, (202)879-4828 MAAS                                  FER ATTY? (202) 879-4828

   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER. YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                    See reverse side for Spanish translation
                                                     Vea al dorso la traduccion al espaiiol




CV-3110 [Rev. June 2017]                                                                                                     Super. Ct. Civ. R. 4
                           Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 5 of 13


                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                       DIVISION CIVIL
                                                             Seccién de Acciones Civiles
                                            500 Indiana Avenue N W      Suite 5000, Washington, D.C. 20001
                                                   Teléfono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                 Demandante
                                        contra
                                                                                                Numero de Caso:


                                                                  Demandado

                                                                  CITATORIO
        Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintitn (21) dias contados después que usted haya recibido este
       citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
       agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
       sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacion. Tiene que
       enviarle por correo una copia de su Contestacién al abogado de la parte demandante. El nombre y direccién del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestacion por correo a la direccién que aparece en este Citatorio.

               A usted también se le require presentar la Contestacion original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W.. entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sabados. Usted puede presentar la Contestacion original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestacion, podria dictarse un fallo en rebeldia contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
                                                                                       SECRETARIO DEL TRIBUNAL
      Nombre del abogado de] Demandante

                                                                              Por:
      Direccion                                                                                          Subsecretario



                                                                              Fecha
      Teléfono
      Om Bis. iW       (202) 879-4828       Veuillez appeter au (202) 879-4828 pour une traduction   Dé co mot bai dich, hay goi (202)879-4828

                   erage aaa       202)879-4828                           PATICE     TCP ATT TH (202) 879-4828 Leon
         IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS. O
      PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCION. NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

         Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) 0 el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                       Vea al dorso el original en inglés
                                                      See reverse side for English original
CV-3110 (Rev. June 2017}                                                                                             Super. Ct. Civ. R. 4
                              Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 6 of 13
               jor                           Superior Court of the District of Columbia
                     ra


                          7
                                                         CIVIL DIVISION
                                                        Civil Actions Branch
                                     500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001

                og ce
                                          Telephone: (202) 879-1133 Website: www.dccourts.gov


                                                                    Plaintiff
                                        VS

                                                                                                      Case Number
                                                                                                                        2023 06994
           OM                                                      Defendant

                                                                  SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
  N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
  the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
   udgment by default mgy be entered agaimst.you for the relief demanded in the complaint

                                                                                              Clerk of the Court
         e of Plaibtiff*s Aftorn


LAD                                                                             By


NS Wastin ghov 2 2000F
        ress                                                                                                Deput Clerk


                                                                                Date
 Telephone
  50   Biz.WITBis (202) 879-4828             Veuillez appeler au (202) 879-4828 pour une traduction     Dé co mot bai dich. hav vor (202)879-4828

  HS AS Ape, (202)879-482389E xMAAS                            FCP              (202) 879-4828


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION. DO NOT FAIL TO ANSWER WITHIN THE REOUIRED TIME.

        If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
                                                                                          for help or come to Suite 5000 at 500
  Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100)
  Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                     See reverse side for Spanish translation
                                                      Vea al dorso la traduccion al espaiiol




 CV-3110 [Rev. June 2017]                                                                                                      Super. Ct. Civ. R. 4
                              Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 7 of 13


                                         TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                        DIVISION CIVIL
               ?
                                                             Seccién de Acciones Civiles
                                              §00 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                     Teléfono: (202) 879-1133 Sitio web: www.dccourts.gov
                    oF coke




                                                                   Demandante
                                          contra
                                                                                                  Numero de Caso:


                                                                    Demandado

                                                                   CITATORIO
        Al susodicho Demandado:
                 Por la presente se le cita a comparecer y se le require entregar una ContestaciOn a la Demanda adjunta, sea en
        persona o por medio de un abogado, en el plazo de veintiun (21) dias contados después que usted haya recibido este
        citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
        agente del Gobiemo de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
        sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacion. Tiene que
        enviarle por correo una copia de su Contestacién al abogado de la parte demandante. El nombre y direccién del
        abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
        copia de la Contestacion por correo a la direccién que aparece en este Citatorio.

                A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
        Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes 0 entre las 9:00 a.m. y las 12:00 del mediodia
        los sabados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
        demandante una copia de la Contestacion o en el plazo de siete (7) dias de haberle hecho Ja entrega al demandante. Si
        usted incumple con presentar una Contestacion, podria dictarse un fallo en rebeldia contra usted para que se haga
        efectivo el desagravio que se busca en la demanda.
                                                                                          SECRETARIO DEL TRIBUNAL
       Nombre del abogado del Demandante

                                                                                Por:
       Direccion                                                                                           Subsecretario


                                                                                Fecha
       Teléfono
       WMBik.WHTBis (202) 879-4828            Veuillez appeler au (202) 879-4828 pour une traduction   Dé co mot bat dich, hay gor (0202) 879-4828

                   Pherae        eet 202)879-4828                                      FOI ASPET (202) 879-4828
          IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
       MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
       DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
       DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
       PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
       USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
       EXIGIDO.

          Si desea conversar con un abogado y le parece que no puede pagarle a uno, Ilame pronto a una de nuestras oficinas del Legal Aid
       Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
       Indiana Avenue, N.W.. para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                        Vea al dorso el original en inglés
                                                       See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                                Super. Ct. Civ. R. 4
                             Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 8 of 13
                                               Superior Court of the District of Columbia
                                                           CIVIL DIVISION
                                                          Civil Actions Branch
                                       500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
              orc
                                            Telephone: (202) 879-1133 Website: www.dccourts.gov

                                                               Son
                                                                 Plaintiff
                                          vs

                                                                                                        Case Number
                                                                                                                          2023 06994
                               (2                  >
                                                                     Defendant

                                                                     SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint. either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
  N.W., between    8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
  the plaintiff or within seven 7) days after you have served the plaintiff. If you fail to file an Answer,
   udgmrent                  be egfered against you foxghe relief demanded in the complaint.

                                                                                                 Clerk of the Court


                                                                                                                Dw
 Name

                                                                                  By
 Address                                                                                                      D eputy Clerk    _/

                                                                                  Date
 Telephone
 OR          47   BIS (202) 879-4828           Veuillez appeler au (202) 879-4828 pour une traduction     De co mat bar dich. has vor (202)879-4828

 WeHe AONe, (202)879-4828E             MMA              PACS            ATTY? (202) 879-4828


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer. promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W.. for more information concerning places where you may ask for such help.

                                                       See reverse side for Spanish translation
                                                        Vea al dorso la traduccion al espanol




CV-3110 (Rev. June      {)                                                                                                       Super.   C. Cv. R 4
                           Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 9 of 13



                                          TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                         DIVISION CIVIL

                    ae
                    cy
                                                               Seccién de Acciones Civiles
                                              $00 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                     Teléfono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                   Demandante
                                          contra
                                                                                                  Numero de Caso:


                                                                    Demandado

                                                                    CITATORIO
        Al susodicho Demandado:
                 Por la presente se le cita a comparecer y se le require entregar una Contestacion a la Demanda adjunta. sea en
        persona o por medio de un abogado, en el plazo de veintiun (21) dias contados después que usted haya recibido este
        citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
        agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
        sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacion. Tiene que
        enviarle por correo una copia de su Contestacion al abogado de la parte demandante. El nombre y direccion del
        abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
        copia de la Contestacion por correo a la direccion que aparece en este Citatorio.

                A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
        Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m.. de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
        los sabados. Usted puede presentar la Contestacion original ante el Juez ya sea antes que usted le entregue al
        demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
        usted incumple con presentar una Contestacion, podria dictarse un fallo en rebeldia contra usted para que se haga
        efectivo cl desagravio que se busca en la demanda.
                                                                                         SECRETARIO DEL TRIBUNAL
       Yombre del abogado del Demandante

                                                                                Por:
       Yireccioén                                                                                              Subsecretario



                                                                                Fecha
      Teléfono
       SOM               (202) 879-4828       Veuillez appeler au (202) 879-4828 pour une traduction       Dé eo mot bat dich, hay gut (202)879-4828

                                     202)879-4828                                      FCP             (202) 879-4828    Kear

         IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
      PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

          Si desea conversar con un abogado y le parece que no puede pagarle a uno, lame pronto a una de nuestras oficinas del Legal Aid
       Society (202-628-1161) 0 ef Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
       Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                         Vea al dorso el original en inglés
                                                        See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                                   Super. Ct. Civ. R. 4
                        Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 10 of 13
                                            Superior Court of the District of Columbia
                                                        CIVIL DIVISION
                                                       Civil Actions Branch
                                   500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
              fron ce
                                        Telephone: (202) 879-1133 Website: www.dccourts.gov


                                                                     lainti

                                                                                                                        2023 06994
                                      Vs.

                                                                                                     Case   Number

                        cele                                      Defendant


                                                                 SUMMONS
  To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
 exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
 or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at S00 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.m.. Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
 Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) fays after you have served the plaintiff. If you fail to file an Answer,
     me t by default ma y be entered against you forthe relief demanded in the complaint

                                                                                             Clerk of the Court
 N me of      Pints     Attorney

                                                                               By
 Add     SS                                                                                                 Deputy Clerk


                                                                               Dat
 Telephone
 $0   ME.WITBis (202) 879-4828              Veuillez appeler au (202) 879-4828 pour une traduction      He co mat bar dich. hav gai (202) 879-4828

 wae Net Ale, (202) 879-48288F MMM die                carte Pere              (202) 879-4828


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF. AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W.. for more information concerning places where you may ask for such help.

                                                    See reverse side for Spanish translation
                                                     Vea al dorso la traduccién al espanol




CV-3110 (Rev. June 2017)                                                                                                        Super. Ct. Civ. R. 4
                           Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 11 of 13


                                          TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                         DIVISION CIVIL
                                                              Seccién de Acciones Civiles
                                              500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                    Teléfono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                   Demandante
                                          contra
                                                                                                  Numero de Caso:


                                                                   Demandado

                                                                   CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestacion a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiun (21) dias contados después que usted haya recibido este
       citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
       agente del Gobiemo de los Estados Unidos de Norteamérica 0 del Gobierno del Distrito de Columbia, tiene usted
       sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacion. Tiene que
       enviarle por correo una copia de su Contestacién al abogado de la parte demandante. El nombre y direccion del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestacién por correo a la direccion que aparece en este Citatorio.

                   A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sabados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
                                                                                          SECRETARIO DEL TRIBUNAL
       Jombre del abogado del Demandante

                                                                                Por:
       Jireccion                                                                                            Subsecretario


                                                                                Fecha
      Teléfono
       $0            BiG (202) 879-4828       Veuillez appeler au (202) 879-4828 pour une traduction    Dé co mst bai dich, hav go: (202) 879-4828

                     Phrae
                        wat Ott 202)879-4828 SREP EL Go                                FOL? ACTTY? (202) 879-4828     BLOW

          IMPORTANTE: Sl USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
       MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
       DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
       DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
       PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
       USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
       EXIGIDO.

          Si desea conversar con un abogado y Ie parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
       Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
       Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                         Vea al dorso el original en inglés
                                                        See reverse side for English original
CV-3110 (Rev. June 2017]                                                                                                 Super. Ct. Civ. R. 4
                     Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 12 of 13



          Superior Court of the District of Columbia
                                              CIVIL DIVISION CIVIL ACTIONS BRANCH
                                                                     -




                                                               INFORMATION SHEET
                                                                           Case Number:                2023 06994
                                                                           Date:                 7      \       2
    TC rane                           OU\C &
                              Defendant(s)
                                                                                         of the defendants is being sued
                                                                                       their official capacity.

      Name: (Please Prtyt)                                                                       Relationship to Lawsuit

      Firm Name:                                                                                            Attorney for Plaintiff

                                                                                                     AI Self        Pro Se)
      Telephone No.:


      TYPE OF CASE:
                          _
                                      DC Bar No. :



                              []Non-Jury
                                                        My     6 Person Jury
                                                                                                            Other:



      Demand: $                                                                         Other:
                                                                                                     Agh Person Jury
      PENDING CASE(S) REL                      TO THE ACTION BEING FILE
      Case No.:                                         Judge:                                       Calendar # :                     27
      Case No.:                                         Judge:                                       Calendar #:


NATURE OF SUIT:               (Check One Box Only)
CONTRACT                                 COLLECTIONANS. SUB                                                 EMPLOYMENT DISPUTE
    Breach of Contract                       bebt Collection                                             a   Breach of Contract

C   Breach of Warrants                CJ Insurance Subrogation                                               Discrimination

CT Condo. Homeowner Assn. Fees                   tonApplication for Judgment by Confession                   Wage Claim

    Contract Entorcement                     Motion Application Regarding Arbitration Award                  Whistle Blower

    Negotiable Instrument                                                                                    Wrongful Termination


REAL PROPERTY                                                                                                         FRIENDLY SUIT
    Condo't Homeowner Assn, Foreclosure             Ejectment                  Other
                                                                                                               [] HOUSING CODE REGULATIONS
CO Declaratory Judgment                         C   Eminent Domain             Quiet Title                            QUITAM
OC Drug Related Nuisance Abatement                  Interpleader               Specific Performance
                                                                                                               []     STRUCTURED SETTLEMENTS

ADMINISTRATIVE PROCEEDINGS                                                                                       AGENCY APPEAL
    Administrative Search Warrant                                  DO Rylease Mechanics Lien                               Dangerous Animal Determination

    App. tor Entry of Jet. Defaulted Compensation Benefits               Request for Subpoena                        ODO   DCPS Residencs Appeal
    Enter Administrative Order as Judgment                         MAL       ACTICE                                        Merit Personnel Act (OFA)

    Libel ofInformation                                                  Medical   -
                                                                                       Other                               Merit Personnel Act (OHR)

a   Master Meter
                                                                         Wrongful Death
                                                                                                                           Other Agency Appeal

    Petition Other
                                                               a APPLICATION FOR INTERNATIONAL FOREIGN JUDGMENT

      CV-496/February 2023
                        Case 1:24-cv-00185 Document 1-1 Filed 01/22/24 Page 13 of 13


                                   Information Sheet, Continued


CIVIL ASSET FORFEITURE                                                TORT
O Curreney                                                              C   Abuse of Process

    Other                                                                   Assault Batten

    Real Properts                                                           Conversion

    Vehicle                                                                 False Arrest Malicious Prosecution

NAME CHANGE/VITAL RECORD AMENDMENT                                      O Libel Slander Defamation
    Birth Certificate Amendment                                             Personal Injury

O   Death Certificate Amendment                                             Toxie Mass

    Gender Amendment

    Name Change
                                                                        a   Wrongful Death (Non-Medical Malpractice)



GENERAL CIVIL                                           Product Liability                      STATUTORY CLAIM
a   Accounting
                                                        Request for I
                                                                                                     Anti   -
                                                                                                                APP
    Deceit (Misrepresentation)                                                                       ¢   onsumer Protection Act
                                                                Replesin
        raud
    i
                                                     TD Wrongtul Eviction                      K     Exploitation of Vulnerable Adult
C   Tavasion of Privacy
                                                     CIVIL VCOMPLEX CIVIL                            Freedom of Information Act (FOTA)

CT Lead Paint                                           Ashestos                                O Other
    Legal Malpractice                                MORTGAGE FORECLOSURE                      TAX SALE FORECLOSURE
    Motion/Application Regarding Arbitration Award      Non-Residential
                                                                                                a    Tax Sale Annual
    Other      -
                   General Civil                        Residential                                  Tax Sale Bid Off
                                                                                               ODO



VEHICLE
                                   TR FFIC ADJUDICATION APPEAL
    Personal Injury

    Property Damage                REQUEST FOR FOREIGN JUDGMENT




                                      Signature                                                          Date




        CV-496/February 2023
